Case 15-31658 Document 149 Filed in TXSB on 11/27/18 Page 1 of 7




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                                                                   11/27/2018
Case 15-31658 Document 149 Filed in TXSB on 11/27/18 Page 2 of 7
Case 15-31658 Document 149 Filed in TXSB on 11/27/18 Page 3 of 7




     November 27, 2018
Case 15-31658 Document 149 Filed in TXSB on 11/27/18 Page 4 of 7
Case 15-31658 Document 149 Filed in TXSB on 11/27/18 Page 5 of 7
Case 15-31658 Document 149 Filed in TXSB on 11/27/18 Page 6 of 7
Case 15-31658 Document 149 Filed in TXSB on 11/27/18 Page 7 of 7
